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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

MICHAEL DISABATO
AND JOHN DOES 1-36,

                       Plaintiffs,                             Case No. __________________

       v.
                                                               JURY TRIAL DEMANDED
THE OHIO STATE UNIVERSITY,

                       Defendant.

                                           COMPLAINT

       Plaintiffs Michael DiSabato and John Does 1-36 file this complaint against Defendant,

The Ohio State University (“OSU”) and allege as follows:

                                     JURISDICTION AND VENUE

       1.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1334 because Plaintiffs allege claims under federal law, specifically Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681, et seq.

       2.      Venue is proper in the Southern District of Ohio pursuant to 28 U.S.C. § 1391(b)

because the events giving rise to Plaintiffs’ claims occurred within this district.

                                       PRELIMINARY STATEMENT

       3.      Plaintiffs bring this civil rights lawsuit under Title IX of the Education

Amendments of 1972, 20 U.S.C. § 1681, et seq. because OSU had actual notice of and was

deliberately indifferent to the fact that Richard Strauss, M.D., an OSU employee, tenured faculty

member, and the Associate Director of OSU’s sports medicine program, sexually assaulted and

abused hundreds of male OSU student-athletes and other male OSU undergraduates for over
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nineteen years. Moreover, OSU officials aided, abetted, and actively concealed Strauss’ sexual

predation on OSU’s students.

       4.      As a threshold matter, Plaintiffs openly admit they consented to receiving medical

treatment while student-athletes at OSU. Plaintiffs, however, never invited or consented to

Strauss touching them beyond what was medically necessary and appropriate. For numerous

reasons described below, Plaintiffs were not in a position to judge Strauss’ clinical practices or to

avoid him when seeking medical care.

       5.      Strauss abused Plaintiffs during pre-season physicals and when treating them for

injuries, either through the OSU Athletics Department or OSU’s Sports Medicine Clinic at

Student Health Services. He also sexually harassed student-athletes in the locker rooms and

showers of Larkins Hall, where many teams were based, including wrestling, gymnastics, and

swimming.

       6.      On information and belief, OSU assigned Strauss a locker in every room used by

teams based in Larkins Hall.

       7.      OSU designated Strauss as a team physician for many sports. Student-athletes

could not avoid him if they wanted medical treatment. OSU funneled Plaintiffs and other

student-athletes to Strauss with assembly-line efficiency, whereupon Strauss cornered and

sexually assaulted them. He sexually assaulted/abused most of the Plaintiffs more than once, and

some wrestlers between 20-50 times.

       8.      OSU concealed, intentionally ignored, or disregarded athletes’ repeated reports

and other widely known information that indicated Strauss was a threat to his male patients. A

Graduate Assistant Trainer who overlapped with Strauss only one academic quarter noticed

“immediately” that something was “off” with Strauss. “In her view, individuals who overlapped




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with Strauss for any significant period of time would have had to have their ‘ear plugged, eyes

shut, and mouth closed not to realize something was off.’” Sexual Abuse Committed by Dr.

Richard Strauss at The Ohio State University, Report of Perkins Coie, LLP, May 15, 2019, p.

104 (“Report”). Officials turned a blind eye to numerous red flags that Strauss was sexually

abusing his patients, such as: Strauss insisted upon examining patients without any other staff

being present, including students in training; Strauss performed notoriously long and thorough

“hernia checks” during team physicals; frequent comments by athletes that Strauss made them

drop their pants regardless of their medical needs (e.g., to get a case of cauliflower ear treated);

and the fact that Strauss showered with athletes from multiple teams, often took multiple

showers a day, and was assigned multiple lockers in Larkins Hall.

       9.      When teams reported for pre-season physicals, Athletics Department personnel

set up stations for each station of the physical. Strauss always chose to man the “hernia checks”

station. He took an extended amount of time with each patient and examined his patients in a

room with the door closed. Hernia checks often took several minutes. Some Plaintiffs, however,

remember Strauss checking inspecting and fondling their genitals for ten or fifteen minutes. A

line would form outside of Strauss’ exam room as the athletes completed the other stations and

anxiously waited for Strauss to exam them. In fact, Strauss’ prolonged genital exams became

rather notorious. At least one team head coach requested that someone other than Strauss

conduct the hernia checks for team physicals.

       10.     When Plaintiffs asked Strauss why he was massaging their genitals and probing

their rectums, he came up with many different medical explanations. Hernia and lymph node

checks were the most common explanations. Sometimes, Strauss placed his face so close to his

patients that they could feel his breath on their genitals. Sometimes he had them stand on tables




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so his head was at crotch height. Other times he had them sit on a bench and spread their legs; he

would then roll across the floor on a wheeled stool and stick his face deep between their legs to

perform his exam. Sometimes Strauss would don a headlamp and turn off the room lights before

putting his head inches away from patients’ penises. When one Plaintiff asked Strauss to explain

the room lights off/headlamp behavior, Strauss said he was checking for skin rashes and STDs.

He assured the Plaintiff that this technique allowed him to perform the best possible examination

for those kinds of problems.

        11.     Strauss also sexually assaulted students by performing anal and rectal exams that

were rigorous, lengthy, and medically unnecessary. Although less common than genital exams,

they occurred frequently. They were profoundly embarrassing and humiliating. Numerous

Plaintiffs were assaulted in this manner.

        12.     Some of the Plaintiffs and other student-athletes reported Strauss’ examination

methods to team trainers – particularly football trainer Billy Hill. While precise responses

differed, the gist was almost always the same: it was not a big deal. Strauss did things his way;

Strauss was just being thorough; this had gone on for years. Other benign explanations were

offered. Some Plaintiffs came to believe that Strauss’ examinations were a necessary part of

their participation in intercollegiate athletics that was like a “hazing.”

        13.     In April 2018, OSU authorized an independent investigation into whether Strauss

had sexually abused student-athletes, and if so, the extent to which OSU knew about Strauss’

conduct. On May 15, 2019, Perkins Coie, LLP issued findings from its independent investigation

into Strauss’ acts of sexual abuse and the degree to which OSU knew of or permitted Strauss to

abuse OSU students. Titled, Sexual Abuse Committed by Dr. Richard Strauss at The Ohio State

University, issued on May 15, 2019 (the “Report”), the Report substantiates many of the facts




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pled in this Complaint and the previous complaints filed in other lawsuits pending before this

Court.1 See, e.g., John Does 1 et. al. v. The Ohio State University, Case No. 2:18-cv-00692-

MHW-EPD (S.D. Ohio); Brian Garrett et. al. v. The Ohio State University, Case No. 2:18-cv-

00692-MHW-EPD (S.D. Ohio); Steve Snyder-Hill et. al. v. The Ohio State University, Case No.

2:18-cv-00736-MHW-EPD.

           14.      John Does 1-36 filed anonymously in this action due to the highly personal nature

of the circumstances giving rise to their claims.

           15.      Plaintiffs take no pleasure in bringing this lawsuit. OSU is an esteemed institution

of higher learning and a large majority of the Plaintiffs continue to love OSU dearly and remain

devoted members of The Buckeye Nation.

           16.      Plaintiffs were honored to represent OSU in competitive sports and did their best

to continue the University’s tradition of excellence.

           17.      Plaintiffs attended OSU expecting the University would consistently provide them

with a safe and supportive environment that would help them perform at their best, both

athletically and academically.

           18.      Plaintiffs believed that OSU would make patient/athlete safety one of the

University’s primary concerns.

           19.      Team physicians like Strauss hold a special relationship of trust and confidence

with the student-athletes they treat and are the most important medical professionals on an

athlete’s treatment team.

           20.      Plaintiffs trusted OSU to act in their best interests when selecting, training, and

supervising the team physicians on its faculty.



1
    Materials received from Ohio’s Medical Board Contents are redacted from the current version of the Report.


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        21.     Plaintiffs trusted OSU to hire physician faculty members who would respect and

honor the relationship of trust and confidence that must be present between patients and their

physicians.

        22.     Plaintiffs trusted OSU to regularly and competently evaluate the quality and

integrity of the medical services Strauss provided to Plaintiffs.

        23.     Plaintiffs trusted OSU to investigate faithfully all circumstances that indicated a

team physician was unfit to treat Plaintiffs, whether due to acts of sexual assault/abuse or

incompetence.

        24.     Plaintiffs trusted that OSU personnel would not hide, fail to disclose, or disregard

known circumstances that raised a substantial likelihood Plaintiffs and other student-athletes

were being sexually assaulted, abused, and harassed by Strauss and/or by conditions at Larkins

Hall.

        25.     Plaintiffs expected OSU, an esteemed institution of higher learning, to seek the

truth about Strauss’ conduct wherever the truth led the University.

        26.     Plaintiffs relied on OSU to confront and stop Strauss’ sexual abuse of Plaintiffs

and other male OSU students.

        27.     Plaintiffs relied on OSU to stop the rampant sexual harassment that student-

athletes, particularly the wrestling team, had to endure in Larkins Hall between 1978 and 1998.

        28.     OSU betrayed Plaintiffs’ trust and utterly failed to meet the legal and ethical

obligations it owed to Plaintiffs and other OSU students. At all times relevant to this Complaint,

OSU officials with authority to institute corrective measures actively concealed, failed to

disclose, and showed deliberate indifference towards circumstances that indicated Strauss was

sexually assaulting and abusing male OSU athletes he treated.




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        29.    On information and belief, OSU personnel who failed to implement corrective

measures despite having actual knowledge of: (a) the risk that Strauss was sexually assaulting

students, and (b) the sexually hostile environment Larkins Hall presented to athletes on the teams

housed there included (but were not limited to) Athletic Directors and Assistant Athletic

Directors, Head Team Physicians, and team physicians (who were also faculty members).

        30.    At all times relevant to this Complaint, OSU maintained a culture of concealment,

denial, and unwillingness to investigate sexual abuse and sexual harassment of male athletes at

the University. This culture led to OSU’s active concealment of and deliberate indifference

towards continuous complaints and reports about Strauss’ behavior and the conditions at Larkins

Hall. Consequently, Strauss remained hidden in plain sight and continued to abuse Plaintiffs and

other patients throughout his career at the University. Plaintiffs on teams housed in Larkins Hall

continued to be harassed on a daily basis. Both of these threats to student safety remained

unabated for twenty years.

        31.    Only within the past two years have Plaintiffs realized that Strauss’ conduct

constituted sexual assault or sexual abuse.

        32.    Only within the past two years have Plaintiffs had a reasonable basis for believing

that OSU had actual knowledge of the risk Strauss presented to the student-athletes he treated.

        33.    Only within the past two years have Plaintiffs had a reasonable basis for believing

OSU intentionally concealed or showed deliberate indifference to the threat Strauss posed to

them.

        34.    Only within the past two years have the Plaintiffs who competed in wrestling,

gymnastics, and swimming come to learn what OSU administrators in a position to take

corrective measures knew and failed to do about the conditions in Larkins Hall.




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       35.     Even if Plaintiffs had realized more than two years ago that Strauss’ conduct

constituted sexual assault and sexual abuse, Plaintiffs would have had no reasonable basis for

alleging or concluding that OSU caused them to suffer a separate and independent harm from

what Strauss had inflicted on them. Strauss harmed Plaintiffs by sexually assaulting and abusing

them. OSU independently harmed Plaintiffs by failing to protect them from Strauss despite

knowing Strauss was substantially likely to be a sexual predator. Not until within the past two

years would Plaintiffs’ due diligence have allowed them to reasonably infer: (a) what OSU knew

about Strauss while Strauss was on the faculty; or (b) what OSU did or failed to do with that

information.

       36.     Likewise, not until within the past two years would the Plaintiffs whose teams

practiced in Larkins Hall, including wrestling, swimming, and gymnastics, have known: (a) the

extent of OSU’s institutional knowledge about the conditions in Larkins Hall; or (b) what OSU

did or failed to do with that information.

                                             THE PARTIES

       37.     Defendant The Ohio State University was at all relevant times and continues to be

a public university organized and existing under the laws of the State of Ohio.

       38.     Defendant OSU receives, and at all relevant times received, federal financial

assistance. Defendant is therefore subject to Title IX of the Educational Amendments of 1972, 20

U.S.C. §1681, et seq.

       39.     Plaintiffs were enrolled at OSU as students during Strauss’ employment with

OSU.

       40.     Plaintiffs participated in OSU intercollegiate sports teams while enrolled at OSU.




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       41.     Plaintiffs received financial assistance from OSU that was linked to their

participation on OSU’s intercollegiate sports teams.

       42.     Plaintiff Michael DiSabato is a resident of the State of Ohio.

       43.     M. DiSabato attended OSU and wrestled from 1987-1991. DiSabato was a Big 10

Medal of Honor winner based upon his wrestling and academic accomplishments.

       44.     Strauss sexually assaulted DiSabato an estimated 45-50 times.

       45.     Strauss required DiSabato to expose his genitalia for every office visit, regardless

of DiSabato’s medical complaint. Strauss would cup and fondle DiSabato’s testicles and handle

them for extended period of time.

       46.     Strauss also performed unnecessary or overly invasive rectal exams on DiSabato.

These exams embarrassed and humiliated DiSabato.

       47.     Although DiSabato found Strauss’ examination methods embarrassing and

humiliating and wondered why they were necessary, he did not appreciate that Strauss’ clinical

actions constituted sexual assault or sexual abuse. Strauss offered a pretextual medical

explanation for everything he did to DiSabato.

       48.     Plaintiff John Doe No. 1 is a resident of the State of Ohio.

       49.     John Doe No. 1 wrestled for OSU in 1985.

       50.     Strauss sexually assaulted/abused John Doe No. 1 once while performing what

Strauss said was a routine physical. After performing a hernia check, Strauss told John Doe No.

1 to drop his pants and then conducted a very intense and extensive rectal exam.

       51.     Plaintiff John Doe No. 2 is a resident of the State of Missouri.

       52.     John Doe No. 2 played football and attended OSU from 1990-1994.




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       53.     John Doe No. 2 was sexually assaulted/abused by Strauss four times. All

instances occurred during his pre-season physicals for football. Strauss fondled Plaintiff John

Doe No. 2’s genitals for extended periods of time and said he was checking for a hernia. Strauss

lifted up Plaintiff’s penis and put his face extremely close to it, supposedly also to check for

signs of a hernia.

       54.     John Doe No. 2 reported Strauss' conduct to Billy Hill, a team trainer. Plaintiff

wondered whether Strauss' methods were the norm. Hill did not tell Plaintiff that Strauss’

conduct was medically improper or sexually abusive. Plaintiff reasonably inferred that Strauss

was conducting a legitimate medical exam and that he was not qualified to question the

appropriateness of Strauss’ examination methods.

       55.     John Doe No. 3 is a resident of the State of Ohio.

       56.     John Doe No. 3 attended OSU from 1988-1991 and was a member of OSU's

football team. Strauss sexually assaulted/abused John Doe No. 3 on at least four occasions by

fondling his genitals and lingering around his groin and genitals. When fondling John Doe No. 3,

Strauss also asked inappropriate questions such as how it felt and whether John Doe No. 3 liked

what Strauss was doing.

       57.     John Doe No. 3 reported Strauss' conduct to Billy Hill, a team trainer. Hill did not

inform John Doe No. 3 that Strauss’ conduct was medically improper or sexually abusive. John

Doe No. 3 reasonably inferred that Strauss was conducting a legitimate medical exam and/or that

he was not qualified to judge whether Strauss’ behavior during the examination was medically

appropriate.




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       58.     John Doe No. 4 is a resident of the State of Ohio. John Doe No. 4 attended and

played football for OSU between 1986-1991. Strauss sexually assaulted/abused John Doe No. 4

multiple times by groping his genitals for extended periods of time.

       59.     While examining John Doe No. 4, Strauss also asked how it felt and whether John

Doe No. 4 liked it.

       60.     John Doe No. 5 is a resident of the State of Ohio. John Doe No. 5 wrestled and

attended OSU from 1986-1990.

       61.     Strauss sexually assaulted/abused John Doe No. 5 three or four times. No matter

why John Doe No. 5 was seeing Strauss, Strauss would require him to drop his shorts and expose

himself.

       62.     John Doe No. 6 wrestled for OSU from 1978-1981. John Doe No. 6 was sexually

assaulted/abused by Strauss more than twenty times.

       63.     Strauss would hold John Doe No. 6’s testicles a long time while asking him to

cough. Strauss would make John Doe No. 6 drop his pants every time he saw Strauss for an

injury, regardless of John Doe No. 6’s medical complaint. For instance, Strauss made John Doe

No. 6 drop his pants and fondled John Doe No. 6’s genitals when Plaintiff saw Strauss for finger

and eye injuries.

       64.     Strauss told John Doe No. 6 he was checking lymph nodes, for skin problems, and

for other health conditions.

       65.     Plaintiff John Doe No. 7 is a resident of the State of South Carolina.

       66.     John Doe No. 7 swam and attended OSU from 1980-1985.

       67.     Strauss sexually assaulted/abused John Doe No. 7 an estimated 25 times out of 30

doctor’s appointments.




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       68.     Strauss fondled John Doe No. 7’s testicles for an inappropriately long amount of

time and caressed the foreskin of his penis. Strauss also gave John Doe No. 7 an unwarranted

and overly invasive rectal exam.

       69.     One day, when John Doe No. 7 was naked and alone in the locker room, Strauss

came up and grabbed and squeezed John Doe No. 7’s breast in a playful manner.

       70.     John Doe No. 8 is a resident of the State of Ohio.

       71.     John Doe No. 8 played football and attended OSU from 1988-1992. Strauss

sexually assaulted/abused John Doe No. 8 on five different occasions when performing

physicals. At the time, John Doe No. 8 thought Strauss was performing a lengthy and very

“aggressive” physical examination of his genitals.

       72.     John Doe No. 9 is a resident of the State of Ohio.

       73.     John Doe No. 9 played football and attended OSU from 1988-1992.

       74.     John Doe No. 9 was sexually assaulted by Strauss two or three times. Strauss

wanted to do a full physical on him regardless of the injury or complaint. John Doe No. 9 felt

uncomfortable, embarrassed, and unsettled by the way Strauss handled his genitalia. He did not

understand what was medically appropriate. He mentioned Strauss to some teammates. They

shared their collective opinion that Strauss was a “weirdo.”

       75.     John Doe No. 10 is a resident of the State of Delaware.

       76.     John Doe No. 10 played football and attended OSU from 1994-1998.

       77.     Strauss sexually assaulted/abused John Doe No. 10 on three occasions when

handling his genitals and feeling his crotch.

       78.     John Doe No. 10 reported this behavior to trainer Billy Hill. Hill did not inform

John Doe No. 10 that Strauss’ conduct was medically improper or sexually abusive. John Doe




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No. 10 reasonably inferred that Strauss was conducting a legitimate medical exam and/or that he

was not qualified to judge whether Strauss’ behavior during the examination was medically

appropriate.

        79.     Plaintiff John Doe No. 11 is a resident of the State of Ohio.

        80.     Plaintiff John Doe No. 11 attended OSU from 1987-1991 and participated in two

varsity sports, one of which was football.

        81.     Strauss sexually assaulted/abused Plaintiff John Doe No. 11 two or three times.

Every time Plaintiff John Doe No. 11 was seen by Strauss, Strauss required a hernia exam that

lasted a long time even though Plaintiff John Doe No. 11 had not complained about any injury to

his groin or genitals.

        82.     John Doe No. 12 is a resident of the State of Ohio.

        83.     John Doe No. 12 played football and attended OSU while Strauss worked at OSU.

        84.     Strauss sexually assaulted/abused John Doe No. 12 on four occasions by groping

his genitals and groin area. Strauss conducted very long genital exams and commented on how

John Doe No. 12’s genitals felt in his hands. Strauss also asked John Doe No. 12 whether it felt

good as Strauss fondled his genitals.

        85.     John Doe No. 13 played football and attended OSU from 1980-1984.

        86.     Strauss sexually assaulted/abused John Doe No. 13 on three-to-five occasions.

Simple hernia checks turned into examinations of John Doe No. 13’s penis and testicles that

lasted between ten and fifteen minutes. Strauss got his face very close to John Doe No. 13’s

genitals when “examining” him. John Doe No. 13 assumed it was a legitimate medical

examination at the time because Strauss’ had a reputation for performing extra-thorough genital

examinations. Some football players openly referred to Strauss as “Dr. Drop Your Drawers.”




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       87.     John Doe No. 14 is a resident of the State of Ohio.

       88.     John Doe No. 14 played football three years, beginning in 1989.

       89.     Strauss sexually assaulted/abused John Doe No. 14 three of the five times he

treated him. All instances occurred under the pretext of pre-season physical hernia checks.

       90.     John Doe No. 15 is a resident of the State of Ohio.

       91.     John Doe No. 15 played football and attended OSU from 1989-1992.

       92.     Strauss sexually assaulted/abused John Doe No. 15 on several occasions by

performing lengthy and also unnecessary genital exams. For example, when John Doe No. 15

saw Strauss for a common cold and for a sore throat, Strauss insisted on a genital exam. John

Doe No. 15 felt violated by the way Strauss performed his examinations.

       93.     John Doe No. 16 is a resident of the State of Ohio.

       94.     John Doe No. 16 played football and attended OSU from 1989-1992

       95.     Strauss sexually assaulted/abused John Doe No. 16 all three times he performed

pre-season physicals on John Doe No. 16. Strauss spent a long time fondling John Doe No. 16’s

testicles and asked him how it felt while groping Plaintiff.

       96.     John Doe No. 16 discussed Strauss’ conduct to trainer Billy Hill. Hill gave no

indication Strauss’ methods medically improper. John Doe No. 16 reasonably inferred that

Strauss was conducting a legitimate medical exam and/or that he was not qualified to judge

whether Strauss’ behavior during the examination was medically appropriate.

       97.     Strauss’ groping and fondling upset John Doe No. 16 to the point that he has not

gotten another physical since 1992.

       98.     John Doe No. 17 is a resident of the State of Ohio.




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       99.     John Doe No. 17 played football and another varsity sport and attended OSU from

1994-1999.

       100.    Strauss treated John Doe No. 17 approximately 4 or 5 times. Strauss required

genital exams even if he had recently examined John Doe No. 17’s genitals. As Plaintiff puts it,

“There was a genital exam for everything.”

       101.    John Doe No. 18 is a resident of the State of Ohio.

       102.    John Doe No. 18 played football and attended OSU from 1984-1988.

       103.    Strauss sexually assaulted/abused John Doe No. 18 about five or six times.

Strauss conducted “overly aggressive” physicals. He touched John Doe No. 18 more

aggressively and longer than what John Doe No. 18 thought necessary for the exam. John Doe

No. 18 felt so uncomfortable after the exams that he said something to the trainers, including

Billy Hill, after both his freshman and sophomore year exams. Hill did not inform John Doe No.

18 that Strauss’ conduct was medically improper or sexually abusive. John Doe No. 18

reasonably inferred that Strauss was conducting a legitimate medical exam and/or that he was not

qualified to judge whether Strauss’ behavior during the examination was medically appropriate.

       104.    John Doe No. 18 stopped complaining after his sophomore year. Nothing

changed. He did not want to be a trouble maker. He did not want to jeopardize his scholarship.

Strauss’ unwanted fondling continued.

       105.    John Doe No. 19 is a resident of the State of Ohio.

       106.    John Doe No. 19 wrestled for OSU one year, 1983-84. Strauss sexually

assaulted/abused John Doe No. 19 twice while examining his genitals. Strauss performed hernia

checks with his face extremely close to Plaintiff’s genitals.




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          107.   Strauss also sexually assaulted John Doe No. 19 by conducting an unnecessary

rectal exam and then rotating his finger to press hard on John Doe No. 19’s prostate. More than

thirty-four years later, John Doe No. 19 remembers word-for-word Strauss telling him, “I can

learn more from a thermometer in the mouth and a finger up the butt than with all my other

tools.”

          108.   John Doe No. 19 experienced constant harassment in Larkins Hall. Whether in the

showers or bathroom he was ogled. He could feel stares from the voyeurs. John Doe No. 19 was

regularly propositioned to meet elsewhere for sex and found notes in his locker asking him to

meet up for sex. When he complained to an assistant coach about the constant sexual harassment

in Larkins Hall, he was told to “grow up,” that he was “not in high school anymore.” He had

come from a small town and thought he was out-of-touch with college norms.

          109.   John Doe No. 19 was so discouraged about the environment of Larkins Hall that

he stopped wrestling, which was his passion, and did not return to OSU.

          110.   John Doe No. 20 is a resident of the State of Georgia.

          111.   John Doe No. 20 played football and attended OSU from 1987-1990.

          112.   Strauss sexually assaulted/abused John Doe No. 20 four times – every pre-season

physical. He groped John Doe No. 20’s groin and genitals for an extended period of time and

asked John Doe No. 20 how it felt and whether he liked it.

          113.   John Doe No. 20 told team trainer Billy Hill about Strauss’ conduct. Hill did not

inform John Doe No. 20 that Strauss’ conduct was medically improper or sexually abusive.

Plaintiff John Doe No. 20 reasonably inferred that Strauss was conducting a legitimate medical

exam and/or that he was not qualified to judge whether Strauss’ behavior during the examination

was medically appropriate.




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       114.      John Doe No. 21 is a resident of the State of Georgia.

       115.      John Doe No. 21 played football and attended OSU from 1992-1996.

       116.      Strauss sexually assaulted/abused John Doe No. 21 three times during physical

exams. Strauss spent a long time manipulating John Doe No. 21’s genitals and groin and the

experience felt creepy. John Doe No. 21 believed that college physicals were just more extensive

than the physicals he had experienced for high school sports.

       117.      John Doe No. 22 is a resident of the State of Texas.

       118.      John Doe No. 22 played football and another varsity sport and attended OSU from

1986-1991.

       119.      Strauss sexually assaulted/abused John Doe No. 22 one time by groping him

while performing a physical.

       120.      John Doe No. 23 is a resident of the State of Ohio.

       121.      John Doe No. 23 wrestled at OSU and attended from 1986-1991.

       122.      John Doe No. 23 estimates Strauss sexually assaulted/abused him between 40-50

times. Every doctor visit started with a hernia check regardless of John Doe No. 23’s injury or

the purpose for John Doe No. 23’s visit. Strauss fondled John Doe No. 23’s scrotum during the

hernia checks.

       123.      Also, Strauss would watch wrestling practices, be the first one in the shower after

practice ended, and stay in the shower area until the last wrestler finished showering.

       124.      John Doe No. 24 is a resident of the State of Vermont.

       125.      John Doe No. 24 was a gymnast and attended OSU from 1981-1986.




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           126.   Strauss sexually assaulted/abused John Doe No. 24 approximately six times.

Strauss fondled his genitals while supposedly checking for hernias. When John Doe No. 24 was

experiencing a genital irritation/rash, Strauss gave him a rectal exam and inserted his finger.

           127.   Strauss also showered with John Doe No. 24 and the other gymnasts and ogled

them while making small-talk in the locker room after showering.

           128.   John Doe No. 25 is a resident of the State of Ohio.

           129.   John Doe No. 25 played football at OSU during Strauss’ tenure.

           130.   Strauss sexually assaulted/abused John Doe No. 25 four times. John Doe No.

No. 25 heard teammates call Strauss “Mr. Long Fingers” and “Mr. Touchy Feely.” During

physical exams, Strauss groped John Doe No. 25’s genitals for an extended time and asked how

it felt.

           131.   John Doe No. 25 confided in Billy Hill regarding Strauss’ conduct. Hill did not

inform John Doe No. 25 that Strauss’ conduct was medically improper or sexually abusive. John

Doe No. 25 reasonably inferred that Strauss was conducting a legitimate medical exam and that

he was not qualified to question the appropriateness of Strauss’ examination methods.

           132.   John Doe No. 26 is a resident of the State of Ohio.

           133.   John Doe No. 26 played football and attended OSU from 1984-1989.

           134.   Strauss sexually assaulted/abused John Doe No. 26 five times, all during

physicals. Strauss touched and grabbed his genitals excessively and kept asking, “How does it

feel? Do you like it?” John Doe No. 26 told Head Trainer Billy Hill at least four times what

Strauss had said and how much it bothered him.

           135.   John Doe No. 26 heard some of his teammates asking for another doctor because

Strauss was grabbing their genitals. Nothing changed.




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       136.    John Doe No. 27 is a resident of the State of Ohio.

       137.    John Doe No. 27 played football and attended OSU from 1989-1993.

       138.    Strauss sexually assaulted/abused John Doe No. 27 twice by groping his genitals

during physical exams. The first time it occurred, John Doe No. 27 did not say anything to

Strauss. He heard other players talking about Strauss’ examinations after the physicals were

completed but did not speak up. Instead he told Head Trainer Billy Hill how uncomfortable

Strauss made him feel. Nothing came of it.

       139.    When Strauss began groping John Doe No. 27 during John Doe No. 27’s second

physical, the Plaintiff ordered Strauss to stop. Strauss did. John Doe No. 27 remains very

embarrassed about how Strauss fondled him.

       140.    John Doe No. 28 is a resident of the State of Ohio.

       141.    John Doe No. 28 played football at OSU during the 1987-1991 seasons.

       142.    Strauss sexually assaulted/abused John Doe No. 28 four times. While conducting

genital exams Strauss would ask if he liked it and how it felt. Strauss also fondled John Doe No.

28’s penis. Once John Doe No. 28 noticed that Strauss had an erection while fondling him.

       143.    John Doe No. 29 played football at OSU during the 1993-1997 seasons.

       144.    Strauss sexually assaulted/abused John Doe No. 29 three times by grabbing his

genitals and groin. Two of the assaults occurred during physicals. The third time was during a

quadriceps and groin injury exam. Massaging and groping John Doe No. 29’s groin and genitals,

Strauss lingered and asked John Doe No. 29 whether he liked it and how it felt.

       145.    John Doe No. 29 told Head Trainer Billy Hill. Nothing changed. Plaintiff was

afraid to go over Hill to the coach because he feared losing his scholarship.

       146.    John Doe No. 30 is a resident of the State of Missouri.




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       147.    John Doe No. 30 played football at OSU during the 1989-1993 seasons.

       148.    Strauss sexually assaulted/abused John Doe No. 30 five times by fondling John

Doe No. 30’s groin and genitals. While fondling John Doe No. 30, Strauss smiled and asked if

he enjoyed having Strauss’s hands on his “privates.”

       149.    John Doe No. 30 told Head Trainer Billy Hill about Strauss’ conduct. John Doe

No. 30 reasonably inferred that Strauss was conducting a legitimate medical exam and/or that he

was not qualified to judge whether Strauss’ behavior during the examination was medically

appropriate.

       150.    John Doe No. 31 is a resident of the State of Ohio.

       151.    John Doe No. 31 played football for OSU during the 1989-1993 seasons.

       152.    Strauss sexually assaulted/abused John Doe No. 31 four or five times by

continuously rubbing John Doe No. 31’s groin and testicles during physicals and holding his

testicles for a very long time. While fondling John Doe No. 31, Strauss commented about John

Doe No. 31’s sex life on campus. John Doe No. 31 felt helpless, embarrassed, and scared. He did

not have the education, training, or experience to deem Strauss’ exam techniques abnormal.

       153.    John Doe No. 31 told Billy Hill about Strauss’ behavior several times. Hill gave

no indication Strauss’ methods medically improper. John Doe No. 31 reasonably inferred that

Strauss was conducting a legitimate medical exam and/or that he was not qualified to judge

whether Strauss’ behavior during the examination was medically appropriate.

       154.    John Doe No. 32 is a resident of the State of Ohio.

       155.    John Doe No. 32 wrestled for OSU one year during the 1990s while Strauss was

employed at OSU. The precise year is being withheld from the pleading to preserve John Doe

No. 32’s anonymity.




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         156.   Strauss sexually assaulted/abused John Doe No. 32 twice when John Doe No. 32

reported to him with an ankle injury. On both occasions, Strauss had John Doe No. 32 take off

all his clothes for the examination. Strauss then fondled John Doe No. 32’s testicles and penis.

He did not wear gloves.

         157.   John Doe No. 32 was also subjected to the hostile environment of Larkins Hall.

Strauss also gawked at John Doe No. 32 in the wrestling locker room.

         158.   John Doe No. 33 is a resident of the State of Kentucky.

         159.   Strauss sexually assaulted/abused John Doe No. 33 five times during physicals.

Strauss had Plaintiff turn his head and cough for a hernia check, but then continued to massage

Plaintiff’s groin and genitals.

         160.   John Doe No. 33 told Billy Hill what had happened. Nothing changed.

         161.   John Doe No. 34 is a resident of the State of Ohio.

         162.   John Doe No. 34 played football at OSU from 1991-1995.

         163.   Strauss sexually assaulted/abused John Doe No. 34 four times. Strauss grasped

his genitals for extended periods during exams. On the last exam, Strauss asked John Doe

No. 34 whether he could kiss John Doe No. 34’s penis.

         164.   John Doe No. 34, like many other Plaintiffs, told Billy Hill what had happened.

No one did anything to stop Strauss.

         165.   John Doe No. 35 is a resident of the State of Michigan.

         166.   John Doe No. 35 played football at OSU during the 1990-1994 seasons.

         167.   Strauss sexually assaulted/abused John Doe No. 35 three or four times. Each

occasion occurred during a pre-season physical, when Strauss gave Plaintiff prolonged genital

exams.




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       168.    Freshman year, Plaintiff reported the situation to the Head Trainer. The Trainer

laughed it off and acted as though he did not believe John Doe No. 35. Plaintiff heard other

teammates make similar complaints about Strauss.

       169.    John Doe No. 36 is a resident of the State of Texas.

       170.    John Doe No. 36 played volleyball during the 1983 and 1984 seasons.

       171.    Strauss sexually assaulted/abused John Doe No. 36 at least four out of the

approximately eight times he examined John Doe No. 36. When being examined by Strauss,

John Doe No. 36 was required to strip naked. Strauss sat directly in front of John Doe No. 36

with his face directly in front of John Doe No. 36’s genitals. Strauss said he was going to check

for a hernia, then cupped and stroked John Doe No. 36’s testicles and penis, moving up and

down with his bare hand. John Doe No. 36 also remembers Strauss staring at the volleyball

players as they walked into the locker room after practice.

       172.    John Doe No. 36 recalls his coach making an offhand joke to the players about

them having to get physicals from Strauss.

                                             STRAUSS

       173.    OSU employed Richard Strauss, M.D., as a faculty member from September 1978

until March 1, 1998.

       174.    In 1978, Strauss was hired as an Assistant Professor of Medicine in the

Pulmonary Disease Division of the Department of Medicine.

       175.    By 1980, Strauss was Associate Director of the Sports Medicine Program. In

1981, Strauss began an appointment in the Athletics Department and expanded his clinical duties

to the Sports Medicine Clinic at University Health Services. By 1982, Strauss’ primary

affiliation was with the Department of Preventive Medicine.




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        176.    OSU granted Strauss tenure as an associate professor in 1983. OSU made Strauss

a full professor with tenure in 1992. Strauss voluntarily retired in March 1998 and was approved

by the Board of Trustees for emeritus status in the School of Public Health. Emeritus status was

granted without the review or approval of the Dean of the College of Medicine and Public

Health. (Report, p. 32,33.)

        177.    Throughout his employment, Strauss provided medical services to various OSU

sports teams. Strauss initially served as a team physician for the wrestling, swimming, and

gymnastics teams, which were based at Larkins Hall. At that time, Larkins Hall was OSU’s

physical education building and aquatics facility.

        178.    “Over the years, Strauss’ responsibilities as a team physician expanded beyond

just the teams based out of Larkins, and included assignments with teams and in facilities across

campus[,]” (Report at 2.) Around 1980, Strauss began treating patients at the Sports Medicine

Clinic at Student Health Services. He was ultimately appointed Chief Physician of the Sports

Medicine Clinic. As time went on, Strauss treated students “who participated in a wide range of

sports including hockey, cheerleading, volleyball, soccer, track, golf, baseball, tennis, water polo,

and football.” (Id. at 35).

        179.    Strauss’ appointment with Student Health ended in 1996 following an

investigation into student complaints about Strauss’ sexual misconduct during medical exams.

                    STRAUSS’ ACTS OF SEXUAL ASSAULT AND ABUSE

        180.    Strauss abused Plaintiffs and OSU students in one or more of the following ways

(as categorized by the Report):

            a. In the context of a medical examination that caused the student to reach

                ejaculation or nearly reach ejaculation;




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              b. In the context of a medical examination that caused the student to reach erection

                 or nearly reach erection;

              c. Unnecessary fondling or groping of genitals in the context of a medical

                 examination, or medically unnecessary examinations of the genitals or rectum.

              d. Examination techniques that included: unnecessary nudity; excessive touching of

                 non-genital/non-rectal areas of the student’s body; inappropriate verbal

                 commentary or sexually charged questioning; lack of medical gloves for genital

                 examinations; unnecessarily invasive physical positions; medical treatment

                 outside a clinical setting; and quid pro quo arrangements; and

              e. Inappropriate and sexually abusive conduct outside of the examination room,

                 including showering alongside student-patients, loitering in student-athletes’’

                 locker rooms and engaging in voyeuristic behavior, and initiating fraternization

                 with patients. (Report at 40)

       181.      Strauss committed these acts of sexual abuse and harassment consistently and on

a daily basis throughout his career at OSU.

       182.      Strauss committed these acts of sexual abuse while an OSU faculty member.

                   WHY PLAINTIFFS’ HAD DIFFICULTY REALIZING OR
                 REPORTING STRAUSS’ CONDUCT AS SEXUALLY ABUSIVE

       183.      Plaintiffs were vulnerable to Strauss’ sexual abuse and many were not able to

identify Strauss’ conduct as sexual abuse when it occurred. Many factors caused this result, as

set forth below.

       184.      Plaintiffs were treated by Strauss in his capacity as a Team Physician through the

Athletics Department or at the Sports Medicine Clinic. He was the person officially designated to

treat them.



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        185.     Plaintiffs had to pass a pre-season physical in order to participate in their sport.

        186.     Before attending OSU, some Plaintiffs had not seen a doctor without their parents

being present.

        187.     Plaintiffs tended to attribute Strauss’ surprisingly “rigorous” genital and rectal

examinations to the fact that the physical requirements of intercollegiate sports were much

greater than for high school competition.

        188.     Plaintiffs were sexually assaulted/abused by Strauss in the context of a purported

medical examination, such as when seeing him for a pre-season physical or for a sports-related

injury. They came into contact with him under legitimate circumstances and were more likely to

interpret what took place in the examination room within that framework of legitimacy.

        189.     When Strauss abused Plaintiffs, male sexual abuse was not a commonly

acknowledged problem or a commonly discussed topic among non-educators or people outside

the fields of medicine and counseling.

        190.     Plaintiffs were brought up to believe that doctors are trustworthy and do not

intentionally hurt their patients.

        191.     Plaintiffs were brought up to believe that a “good” patient is a compliant patient.

        192.     Plaintiffs treated by Strauss were placed in a vulnerable position, both physically

and emotionally, when Strauss examined them. They were not psychologically predisposed to

question Strauss’ clinical practices.

        193.     There was a huge disparity between Strauss’ medical knowledge and the

Plaintiffs. They had no standing to challenge his explanations for the things he did to them.

        194.     Plaintiffs were on Strauss’ “turf” when he examined them in his office with the

door closed. Strauss’ psychological and educational advantage over each athlete in the




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examination room was just as great as the athlete’s physical advantage over Strauss would have

been if they had competed against each other in the athlete’s chosen sport.

       195.     Plaintiffs went into exams, particularly pre-season physicals, expecting their

doctors to touch them. They knew that doctors often have to touch their patients as part of their

work. Plaintiffs had neither the experience nor education to know the limits of appropriate

physical contact during medical examinations.

       196.     Plaintiffs attended OSU believing its doctors and medical faculty would inform

patients about the medical services they provided to them to the extent they were legally or

ethically required to do so.

       197.     Plaintiffs entered Strauss’ examination rooms presuming that what went took

place in a doctor’s office was supposed to be confidential. Even under the most normal

circumstances, Plaintiffs wanted their genital or rectal examinations to remain confidential

because the such topics were embarrassing to discuss. When Strauss’ examinations became

overly aggressive or lingered too long in intimate areas, it made more sense for Plaintiffs to

chalk a feeling that something was wrong up to them feeling unwarranted embarrassment or

shame. The alternative was to accuse a tenured professor of committing sexual assault and to risk

one’s athletic scholarship.

       198.     Plaintiffs maintained a special relationship with OSU because they were attending

on athletic scholarships. Many needed their athletic scholarship to stay in school. They despised

Strauss’ medical exams but were willing to endure them if that was a requirement to keep their

scholarships.




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       199.    Plaintiffs maintained a team mentality. No teammate wanted to complain about

something he believed his other teammates were having to endure, no matter how unpleasant the

experience.

       200.    Some Plaintiffs feared being ridiculed and ostracized if they complained to

teammates about the sexual undertones they perceived during Strauss’ medical examinations and

their teammates did not admit to having similar experiences with Strauss.

       201.    OSU teams always compete at the highest possible level. Plaintiffs were therefore

expected to perform at their best. That required Plaintiffs to make sacrifices and go the extra mile

with every aspect of their training and preparation. Plaintiffs were not in a position to judge

whether a reputed world-class sports physician’s overly thorough examinations were improper

just because things felt wrong or overly invasive. Plaintiffs understood Strauss to be an elite

sports doctor, just like they were elite athletes. Strauss’ “thoroughness” felt, extreme,

embarrassing, and humiliating to the Plaintiffs, but Plaintiffs believed his physicals were a

difficult step forward in their quest for excellence.

       202.    Plaintiffs, as athletes, were expected to be tough and not to complain.

       203.    OSU controlled every aspect of how Strauss interacted with the Plaintiffs. OSU

provided the facilities, designated Strauss as their doctor, and controlled their scholarships.

Plaintiffs had no say in who treated them.

       204.    None of the Plaintiffs had/have received medical education or training, so they

had/have no knowledge of medical examination techniques for diagnosing or treating hernias,

swollen lymph nodes, or hamstring tears, or medical conditions of the penis, testicles, rectum,

prostrate, or anus.




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        205.    None of the Plaintiffs have been trained or educated as to what constitutes

inappropriate physical conduct in the context of a doctor-patient relationship.

        206.    None of the Plaintiffs have ever been educated or trained regarding what

comments or questions are inappropriate for a physician to make during a medical examination.

        207.    When Strauss sexually assaulted/abused Plaintiffs in a clinical setting, many of

them felt confused as to whether abuse had, in fact, occurred. While Plaintiffs had strong

negative emotions and many felt his exams were medically inappropriate, they also understood

that feelings are not facts. Many of them did not appreciate until within the past two years that

Strauss touched them in an unlawful manner.

        208.    Plaintiffs were expressly or impliedly misled by OSU trainers, coaches, and

employees in the Athletics Department into believing that Strauss’ sexually abusive examination

methods and statements, though unpleasant and embarrassing, were medically acceptable

practices.

        209.    Plaintiffs were unlikely to think Strauss was committing an act of sexual violence

by manipulating their genitals for extended periods because everyone talked openly about

Strauss’ over-the-top Strauss’ genital exams. To a young college student, how could something

discussed so openly actually be a criminal act? Strauss’ insistence upon his rigorous genital and

rectal exams became an accepted, albeit despised, part of being treated. Plaintiffs’ only recourse

was to make nervous jokes their powerlessness over their predicament. A Plaintiff recalls that

during his freshman physical, teammates outside Strauss’ closed examination room laughed that

it was Plaintiff’s “first time” – as though Plaintiff was losing his virginity.




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           210.   Not until within the past two years have Plaintiffs had a reasonable basis for

believing OSU had actual knowledge Strauss was sexually abusing male students in a clinical

setting.

           211.   Not until within the past two years have Plaintiffs had a reasonable basis for

believing that OSU concealed or remained deliberately indifferent to the substantial risk that

Strauss was sexually abusing them and other male OSU students, particularly student-athletes.

           212.   Left to their own means, Plaintiffs had no reasonable way of knowing that OSU

had actual knowledge Strauss was sexually abusing male students in a clinical setting. Plaintiffs

also had no way of learning the awful truth about what OSU knew and when, or how OSU chose

to permit their continued sexual abuse by Strauss. No exercise of reasonable due diligence would

have revealed to them how OSU’s acts and omissions caused Plaintiff to suffer independent

injuries from the injuries caused by Strauss.

            OSU’S DELIBERATE INDIFFERENCE TOWARDS STRAUSS’ CONDUCT

           213.   “Beginning as early as Strauss’ first year at OSU – and persisting throughout his

nearly two decades at the school – students and University staff reported and referred complaints

about Strauss to various University employees.” (Report at 2).

           214.   On information and belief, at all times relevant to this Complaint, persons with

the authority to cut-off Strauss’ access to patients, to prevent Strauss from sexually abusing

patients in a clinical setting, or to implement other corrective measures had actual knowledge

there was a substantial likelihood that Strauss was sexually assaulting and abusing male student-

athletes and other male OSU students.

           215.   As early as 1979, OSU officials with authority to institute corrective measures

had information indicating that Strauss posed “a substantial risk of sexual abuse” to male athletes




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on OSU’s intercollegiate sports teams. Among other things, “[p]ersonnel in the University’s

Sports medicine program and Athletics Department were aware that Strauss was conducting

genital examinations on male athletes that were unusually prolonged, and that Strauss refused to

allow athletic training staff to be present for these protracted genital examinations.” (Report at 2)

       216.    Through administrators, faculty, and staff, OSU had actual notice of Strauss’

sexually abusive conduct. OSU, however, dismissed, disregarded, minimized, refuted, denied,

silenced, and even concealed complaints about Strauss’ sexual misconduct. At best, OSU chose

not to act on information that alerted University faculty, staff, and administrators to a substantial

risk that Strauss was sexually abusing Plaintiffs and other male OSU athletes. On information

and belief, OSU personnel who were alerted to compelling evidence of Strauss’ sexually

predatory conduct, but failed to take meaningful action that could have prevented Plaintiffs’

injuries, include: Athletic Directors, Assistant Athletic Directors and Associate Athletic

Directors; and Head Team Physicians and several team physicians (who were also faculty

members).

       217.    As early as 1979, personnel in the Athletics Department and in the University’s

Sports Medicine Program knew that Strauss conducted prolonged genital examinations on male

students and refused to allow any OSU personnel to witness the examinations. Such personnel

also knew “that Strauss showered alongside the male students at Larkins Hall – a practice unique

to Strauss among the other team physicians and a practice that the student-athletes repeatedly

complained about to their coaches.” (Report at 2)

       218.    Additionally, nurses at Student Health Services worried that Strauss was engaging

in sexual conduct with patients because he often showed up unannounced to treat patients not on




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the schedule, took unusually long times examining them, conducted examinations behind closed

doors, and failed to fill out medical records documenting the medical services he provided.

        219.   Strauss was never disciplined for failing to create or complete medical records,

even though such records are standard medical practice and important to providing continuity of

care.

        220.   By failing to insist that Strauss properly document all patient encounters, OSU

made it easy for Strauss to lie about every aspect of what took place during patient visits, or even

to deny that he had treated a particular student.

        221.   OSU never told Strauss to stop showering with the athletes.

        222.   OSU never ordered Strauss to have a third person in the room whenever he was

treating a male patient.

        223.   OSU did not diligently follow up on any of the rumors or reports regarding

Strauss until 1994.

        224.   At all relevant times, OSU also did not have a meaningful complaint or dispute

resolution process for allegations of faculty sexual harassment or abuse. On information and

belief, OSU’s faculty dispute procedure instructed complainants to try attempt an informal

resolution, i.e., a mediation, with the faculty member at issue before going through other

channels. It made no sense to recommend that victims of sexual abuse and harassment try to

negotiate a resolution with their abusers before seeking formal redress.

        225.   At the end of the day, OSU failed the Plaintiffs and Strauss’ other victims in every

imaginable way. It effectively gave Strauss a green light to prey upon male OSU students as he

saw fit. Strauss took full advantage of every opportunity OSU gave him to assault, abuse, and

harass Plaintiffs and other male OSU students.




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                              CONDITIONS AT LARKINS HALL

       226.    During the Strauss years, Larkins Hall was in and of itself a constant source of

sexual harassment for the male members of the athletics teams based inside it. Larkins Hall was

home to a number of OSU sports teams, including wrestling, gymnastics, and swimming. While

Strauss participated in the sexual harassment that took place in Larkins Hall, he did not

independently create the sexually hostile environment that affected the Plaintiffs.

       227.    All male university faculty and students were allowed to use the same showers as

the wrestling team. An aggressively voyeuristic culture developed where certain non-athletes

showered at the same time as wrestlers and soaped their groins vigorously while watching the

wrestlers shower. These individuals, including Strauss, leered at the wrestlers while watching

them shower. The voyeurs often stayed in the showers until all the wrestlers had finished – often

for an hour or longer. Some of these individuals were OSU faculty. When the wrestling team

changed its practice time, many of the voyeurs shifted their shower times to coincide with the

wrestling team’s new schedule.

       228.    Wrestlers were frequently approached in the bathroom and showers and

propositioned for sexual encounters. One Plaintiff even had notes put in his locker asking him to

meet up for sex.

       229.    The harassment was so constant that Plaintiff DiSabato called getting to and from

the showers “running the gauntlet.”

       230.    The wrestling room and spaces around it, including the bathroom and a stairwell,

became a popular hangout for sexual encounters. Coach Hellickson found people having sex in a

bathroom stall, in a stairwell, in the wrestling room, and in other areas. It was not uncommon for

Hellickson to see people engaging in sexual activity inside Larkins Hall.




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        231.    One of the Plaintiffs, a wrestler, was sexually assaulted by a man who grabbed

and tried to fondle him as the wrestler was showering. The resulting physical confrontation

worried Hellickson about the possibility things might get violent in the future. Larkins Hall was

not a safe space for the male athletes who shared lockers or facilities with non-team members.

        232.    Hellickson repeatedly complained to OSU administrators about the environment

in Larkins Hall because the conditions seriously impacted the psyche and morale of his wrestlers.

        233.    Hellickson requested a separate team shower area. OSU denied his request.

        234.    Hellickson begged to have the wrestling team moved to another building. OSU

denied his request.

        235.    When Hellickson tried to get people to leave because they were ogling the

wrestlers and taking hour-long showers, they said it was their right to shower when and for as

long as they wanted. They denied staring at the wrestlers. University police would not make

them leave.

        236.    Larkins Hall became an unsafe space and sexually hostile environment for

wrestlers and some of the other male athletes whose teams were based there.

                                       CLAIM FOR RELIEF
                                    COUNT I: Violation of Title IX
                                      20 U.S.C. § 1681(a), et seq.
                                       Heightened Risk Claim

        237.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if

fully stated here.

        238.    Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1681(a),

states: “No person in the United States shall, on the basis of sex, be excluded from participation

in, be denied the benefits of, or be subjected to discrimination under any education program or

activity receiving Federal financial assistance . . . .”



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       239.    Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R.

Part 106. 34 C.F.R. § 106.8(b) provides: “. . . A recipient shall adopt and publish grievance

procedures providing for prompt and equitable resolution of student and employee complaints

alleging any action which would be prohibited by this part.”

       240.    As explained in Title IX guidance issued by the U.S. Department of Education’s

Office for Civil Rights, sexual harassment of students is a form of sex discrimination covered by

Title IX.

       241.    Sexual harassment is unwelcome conduct of a sexual nature, including

unwelcome sexual advances, requests for sexual favors, and other verbal, nonverbal, or physical

conduct of a sexual nature.

       242.    Title IX covers all programs of a school that receives any federal financial

assistance, and covers sexual harassment—including sexual assault—by school employees,

students, and third parties.

       243.    At all relevant times, OSU received federal financial assistance and is therefore

subject to Title IX.

       244.    Title IX required OSU to promptly investigate all allegations of sexual

harassment, including sexual assault and abuse.

       245.    Strauss committed his unlawful acts while working for OSU as a tenured faculty

member, Team Physician, and Sports Medicine Physician.

       246.    Strauss’s sexual assault, abuse, molestation, and harassment of Plaintiffs—which

included, among other things, fondling their testicles, fondling their penises, digitally penetrating

their rectums, rubbing his erect penis on their bodies, and making inappropriate sexualized

comments—was sex discrimination under Title IX.




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       247.    OSU was required to promptly investigate and address Plaintiffs’ (and other OSU

students’) allegations, reports and/or complaints of sexually abusive or harassing behavior by

Strauss.

       248.    OSU had actual knowledge of the serial sexual assault, abuse, and molestation

committed by Strauss.

       249.    Specifically, OSU knew about Strauss’s sexual assault, abuse, and molestation

through OSU personnel with authority to take corrective action to address it. Such personnel

included, but were not limited to: Athletic Directors and Assistant Athletic Directors, and Head

Team Physicians and several team physicians (who were also faculty members).

       250.    Throughout Strauss’s 20-year tenure at OSU, students, student-athletes, and

coaches conveyed complaints and concerns to OSU administrators and employees about

Strauss’s inappropriate sexual conduct.

       251.    Given the magnitude of Strauss’s abuse—involving students and student- athletes

he evaluated and treated over two decades—it would be implausible for OSU to claim that it did

not know about Strauss’s sexual abuse.

       252.    Nonetheless, OSU did nothing to address the complaints and concerns about

Strauss.

       253.    OSU’s failure to respond promptly and adequately to allegations of Strauss’s

abuse constitutes sex discrimination, in violation of Title IX.

       254.    By its acts and omissions, OSU acted with deliberate indifference to the sexual

abuse and harassment that Plaintiffs and other male OSU students were experiencing. OSU’s

deliberate indifference included, without limitation:




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           a. Failing to respond to allegations of Strauss’ sexual assault, abuse, and

              molestation;

           b. Failing to promptly and adequately investigate allegations of Strauss’s sexual

              assault, abuse, and molestation;

           c. Requiring male athletes to see Strauss for annual physicals and medical treatment,

              despite widespread knowledge and complaints about Strauss’s abuse;

           d. Allowing Strauss (and other sexual predators) to roam freely in Larkins Hall;

           e. Allowing Strauss to work as a physician in Student Health Services, despite

              widespread knowledge and complaints about Strauss’s abuse of male student-

              athletes;

           f. Failing to adequately supervise Strauss, after learning that he posed a substantial

              risk to the safety of male students and student-athletes;

           g. Failing to require that Strauss properly document all patient encounters;

           h. Failing to take corrective action to prevent Strauss from sexually assaulting,

              abusing, and molesting other students; and

           i. Failing to have in place an effective sexual harassment policy that allowed

              students to bring complaints without first having to try to resolve complaints of

              sexual harassment informally with the alleged abuser.

       255.   OSU’s failure to promptly and appropriately investigate, remedy, and respond to

complaints about Strauss’s sexual misconduct caused Plaintiffs (and other male OSU students) to

experience further sexual harassment and/or made them liable or vulnerable to it.

       256.   OSU’s failure to promptly and appropriately investigate, remedy, and respond to

complaints about Strauss’s sexual misconduct created a sexually hostile environment that




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effectively denied Plaintiffs access to educational opportunities and benefits at OSU, including

appropriate medical care.

        257.    As a direct and proximate result of OSU’s violation of Plaintiffs’ rights under

Title IX, Plaintiffs have suffered and continue to suffer emotional distress, physical

manifestations of emotional distress, mental anguish, fear, depression, anxiety, trauma, disgrace,

embarrassment, shame, humiliation, loss of self-esteem, and loss of enjoyment of life; were

prevented and continue to be prevented from obtaining the full enjoyment of life; have sustained

and continued to sustain loss of earnings and earning capacity; and have incurred various

personal expenses.

                               COUNT II: Violation of Title IX
                        20 U.S.C. § 1681(a), et seq.Hostile Environment

        258.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if

fully stated here.

        259.    Plaintiffs whose teams were based out of Larkins Hall between 1978 and 1998

(collectively “Larkins Plaintiffs”) were entitled to use the athletics facilities free from sexual

harassment. However, the pervading and constant sexual harassment they received within

Larkins Hall created a hostile environment. The hostile environment these Larkins Plaintiffs

suffered in Larkins Hall facilities was so severe, pervasive, and objectively offensive that it

effectively barred said the Larkins Plaintiffs from access to numerous educational opportunities

and benefits, including but not limited to: full use and enjoyment of practice facilities, showers,

and locker rooms; and full use and enjoyment of their athletic scholarships and memberships on

OSU’s sports teams.

        260.    The sexually hostile environment inside Larkins Hall during the aforementioned

period constituted sex discrimination in violation of Title IX.



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        261.    Between 1978 and 1998, OSU officials in a position to implement corrective

measures had actual knowledge that the Larkins Plaintiffs and other male OSU student-athletes

were being subjected to a sexually hostile and abusive environment inside Larkins Hall.

        262.    OSU owed the Larkins Plaintiffs a duty to investigate and remedy the conditions

that made Larkins Hall a sexually hostile and abusive environment.

        263.    Such OSU officials showed deliberate indifference towards the safety of the

Larkins Hall Plaintiffs and other male student-athletes who used the Larkins Hall facilities

between 1978-1998.

        264.    OSU violated Title IX by failing to remedy the sexually hostile and abusive

environment in Larkins Hall.

        265.    As a direct and proximate result of OSU’s violation of the Larkins Plaintiffs’

rights under Title IX, the Larkins Plaintiffs have suffered and continue to suffer emotional

distress, physical manifestations of emotional distress, mental anguish, fear, depression, anxiety,

trauma, disgrace, embarrassment, shame, humiliation, loss of self-esteem, and loss of enjoyment

of life; were prevented and continue to be prevented from obtaining the full enjoyment of life;

have sustained and continued to sustain loss of earnings and earning capacity; and incurred

various personal expenses.

                                COUNT III: Violation of Title IX
                                  20 U.S.C. § 1681(a), et seq.
                                     Unlawful Retaliation

        266.    Plaintiffs incorporate by reference the allegations in all previous paragraphs as if

fully stated here.

        267.    Title IX prohibits OSU from retaliating against persons who report violations of

Title IX or make claims under Title IX’s implied cause of action.




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        268.   Plaintiff DiSabato made claims and allegations protected by Title IX when he

publicly discussed the conditions of Larkins Hall and asked OSU to investigate Strauss and the

extent to which the University had known about Strauss’ conduct. Plaintiff DiSabato made

claims and allegations protected by Title IX when he testified before University officials on

March 27, 2018.

        269.   Plaintiff DiSabato has been subjected to numerous retaliatory acts since making

public statements about these issues.

        270.   On information and belief, soon after DiSabato’s testimony before OSU officials

on March 27, 2018, DiSabato’s picture was posted inside at least one OSU Athletic Department

Facility and an email was sent out stating that DiSabato was not allowed inside certain OSU

facilities.

        271.   On information and belief, OSU’s current Director of Athletics, Gene Smith, is

the person who ordered that DiSabato be prevented from entering certain OSU facilities. Thus,

while the Report makes it clear that Strauss sexually abused more than 177 male students and

OSU recently apologized for tolerating Strauss’ behavior, last year OSU punished DiSabato for

speaking publicly about Strauss’ sexually abusive behavior and the sexually hostile environment

in Larkins Hall.

        272.   In November 2017, at a charity event DiSabato purchased tickets to the OSU

spring football. About a week after testifying in March 2018, DiSabato was told he would be

denied access to the game and was sent a check that reimbursed his charitable contribution.

        273.   After DiSabato appeared on a story run by an ABC affiliate in July 2018,

University employee Matt Finkes posted DiSabato’s social security number on social media. On




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information and belief, Finkes released this information with the express or implied consent of

OSU.

       274.    On information and belief, after that same story was broadcast on ABC, Finkes

went on a local radio station and called DiSabato “a rat,” among other things. A “rat” is a

derogatory term for a person who is perceived as disloyal because he tells the truth about a fact

or situation that wrongdoers want to keep secret. Finkes also said (paraphrased) that OSU would

not simply lay down the way Michigan State had done.

       275.    The foregoing acts of Smith and Finkes, as well as OSU prohibiting DiSabato

from entering the spring football game, constitute actionable retaliation under Title IX.

       276.    At all relevant times, OSU had actual or constructive knowledge of the fact that

Finkes had disclosed DiSabato’s social security number in a public forum. On information and

belief, OSUhas violated its own internal policies and has subjected DiSabato to potential fraud

and identity theft by disclosing DiSabato’s social security number.

       277.    On information and belief, OSU has not taken disciplinary action against Finkes

or Smith. OSU has therefore independently violated Title IX by ratifying the actions of Smith

and Finkes to the extent their knowledge and actions did not originally constitute actions of

OSU.

       278.    As a direct and proximate result of OSU’s retaliation against him, DiSabato has

suffered and continues to suffer emotional distress, physical manifestations of emotional distress,

mental anguish, fear, depression, anxiety, trauma, disgrace, embarrassment, shame, humiliation,

loss of self-esteem, and loss of enjoyment of life. Plainitff has also incurred various personal

expenses.




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       WHEREFORE, Plaintiffs respectfully request that this Court:

       (a)     Enter judgment in favor of Plaintiffs on their claim for discrimination under

Count I Title IX against Defendant The Ohio State University;

       (b)     Enter judgment in favor of the Larkins Plaintiffs on their claim for discrimination

under Count I Title IX against Defendant The Ohio State University;

       (c)     Enter judgment in favor of Plaintiff Michael DiSabato on his claim for retaliation

under Count III Title IX against Defendant The Ohio State University;

       (d)     Declare Defendant The Ohio State University’s conduct in violation of Title IX of

the Education Amendments of 1972;

       (e)     Award Plaintiffs compensatory damages in amounts to be established at trial,

including, without limitation, payment of Plaintiffs’ medical and other expenses incurred as a

consequence of the sexual abuse and/or harassment and The Ohio State University’s deliberate

indifference; damages for deprivation of equal access to the educational opportunities and

benefits provided by The Ohio State University; and damages for past, present and future

emotional pain and suffering, ongoing mental anguish, loss of past, present and future enjoyment

of life, and loss of future earnings and earning capacity;

       (f)     Award Plaintiffs pre-judgment and post-judgment interest;

       (g)     Award Plaintiffs their court costs and expenses, including attorney’s fees,

pursuant to 42 U.S.C. § 1988(b); and

       (h) Grant such other relief as this Court deems just and proper.




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                                    Respectfully submitted,



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